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                                                                                           June 19, 2019
VIA ECF
The Honorable Judge Eric N. Vitaliano
United States District Court
Eastern District of New York (Brooklyn)
225 Cadman Plaza East
Brooklyn, NY 11201

        Re:     Galan et al v. Segarra et al
                Case No. 1:18-cv-02603-ENV-JO
Dear Judge Vitaliano:

         This office is bankruptcy counsel to the defendants in the above referenced matter. I wish to
respectfully inform your Honor that defendants Chiflez Corp. and Cositas Ricas Ecutorianas Corp. (the
“Debtors”) have filed bankruptcy petitions under Chapter 11 of the United States Bankruptcy Court on June
18, 2019. The Chapter 11 bankruptcy cases have been accorded case number 1-19-43748 and 1-19-43747
respectively. True and correct copies of the Notice of Bankruptcy Case Filings are annexed hereto.
         Pursuant to section 362(a) of the Bankruptcy Code, the Debtors’ filing of its voluntary petition
operates as a stay, applicable to all entities, of, among other things: (a) the commencement or continuation
of all judicial administrative, or other actions or proceedings against the Debtors’ (i) that were or could
have been commenced before the commencement of the Debtors’ case, or (ii) to recover any claims against
the Debtors that arose before the commencement of the Debtors’ case; (b) the enforcement, against the
Debtors or against any property of the Debtors’ bankruptcy estate, of a judgment obtained before the
commencement of the Debtors’ case; or (c) any act to obtain possession of property of or from the Debtors
’bankruptcy estate, or to exercise control over property of the Debtors’ bankruptcy estate.
         This letter merely serves the limited purpose of advising the Court and parties below of the
aforementioned bankruptcy proceeding. As a result of the stay, no further pleadings or papers will be filed
by the undersigned in this action.

        Thank you for your consideration of the foregoing.

                                                          Respectfully submitted,


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Enclosures.
cc:    Plaintiffs’ Counsel (VIA ECF)
